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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Mary T. Thomas, Nea Richard, Jeremy             )       Civil Action No.: 3:20-cv-01552-JMC
Rutledge, Trena Walker, Dr. Brenda              )
Williams, and The Family Unit, Inc.,            )
                                                )
                       Plaintiffs,              )
                                                )                      ORDER
       v.                                       )
                                                )
Marci Andino, as Executive Director of the      )
State Election Commission, John Wells           )
in his official capacity as Chair of SC State   )
Election Commission, Clifford J. Edler and      )
Scott Moseley in their official capacities as   )
Members of the South Carolina State             )
Election Commission, and Henry D.               )
McMaster in his official capacity as            )
Governor of South Carolina,                     )
                                                )
                       Defendants.              )
                                                )

       Plaintiffs Mary T. Thomas, Nea Richard, Jeremy Rutledge, Trena Walker, Dr. Brenda

Williams, and The Family Unit, Inc. (collectively “Plaintiffs”) filed this action seeking declaratory,

preliminary, and permanent injunctive relief from specified laws promulgated by the State of South

Carolina regarding voting by absentee ballot. (ECF No. 1.) Specifically, due to an alleged

vulnerability to COVID-19,1 Plaintiffs challenge (1) “the requirement setting forth exclusive

categories of “[p]ersons qualified to vote by absentee ballot,” in South Carolina (the “Excuse

Requirement”)[,] S.C. Code Ann. § 7-15-320” and (2) the constitutionality of South Carolina’s

witness signature requirement on absentee ballots, codified at S.C. Code Ann. § 7-15-220 (the



1
 “The COVID-19 pandemic, also known as the coronavirus pandemic, is an ongoing pandemic of
coronavirus disease 2019 (‘COVID‑19’) caused by severe acute respiratory syndrome coronavirus
2 (SARS‑CoV‑2).” COVID-19 pandemic, https://en.wikipedia.org/wiki/COVID-19_pandemic
#cite_note-auto-5 (last visited May 7, 2020).
                                                    1
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“Witness Requirement[).]” (ECF No. 1 at 2 ¶ 3, 3 ¶ 4.)

       This matter is before the court pursuant to Plaintiffs’ Motion for an Order Requiring All

Appearances at the May 15, 2020 Hearing be made by Telephone or by Videoconference.2 (ECF

No. 40.) In their Motion, Plaintiffs assert that “to assure that all parties are on an equal footing

before the court,” the court should order “all participants in the hearing be required to do so by

telephone or by videoconference.” (Id. at 1.) In support of Plaintiffs’ Motion, counsel for Plaintiffs

submitted a declaration identifying herself as an individual vulnerable to COVID-19. (See ECF

No. 40-1.) Both Defendants and the Intervenor oppose Plaintiffs’ Motion in reference to their

participation in the hearing, but do not oppose counsel for Plaintiffs appearing remotely. (ECF

Nos. 42, 43.)

                                        I.      ANALYSIS

       In the United States District Court for the District of South Carolina, a court has discretion

regarding whether to conduct a hearing on a pending motion. See Local Civ. Rule 7.08 (D.S.C.).

In the age of COVID-19, this discretion has been enhanced in that in-court appearances are only

allowable when specifically ordered by the presiding judge. See In re: Court Operations in

Response to COVID-19, 3:20-mc-00139-RBH, ECF No. 1 (D.S.C. Apr. 14, 2020).                      In its

discretion, the court has decided that the issues raised by Plaintiffs even in the age of COVID-19

warrant an in-court appearance. (See ECF No. 30.) However, because it is cognizant of ongoing

safety concerns like those stated by Plaintiffs’ counsel, the court will allow the hearing participants




2
  On May 15, 2020, the court has scheduled a hearing on Plaintiffs’ Motion for Preliminary
Injunction. (See ECF Nos. 7, 30.) Plaintiffs seek to enjoin “Defendants . . . and all persons acting
in concert with each or any of them, from enforcing (a) the requirement that voters requesting a
mail-in absentee ballot fall within a limited list of ‘excuses,’ which does not include self-isolation
due to COVID-19, . . . , and (b) the requirement that voters mailing in absentee ballots must have
another adult sign as a witness on the ballot’s envelope, . . . .” (ECF No. 7 at 1.)
                                                  2
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the freedom to choose whether to appear in person or remotely. Therefore, the court GRANTS

IN PART Plaintiffs’ Motion and will allow their counsel to participate by telephone or by

videoconference, but DENIES IN PART their Motion as it relates to other parties involved in this

matter. (ECF No. 40.)

       In this regard, the court advises the parties that it is diligently implementing processes and

procedures to ensure that it alleviates the concern of Plaintiffs’ counsel that “all parties are on an

equal footing before the court.” While the pandemic has limited situations where in-person

interactions are appropriate, this court has maintained its readiness for public debate. To this point,

the court has designated what it believes to be a sufficient amount of time to allow all counsel the

opportunity to argue their respective positions. The court believes that this will ensure that the

success or failure of any argument presented will not be dependent on whether the argument is

made in person or remotely.

       In exercising the aforementioned discretion, the court’s primary concern is the safety and

well-being of all involved. The court will enforce the Standing Order prohibiting entry into the

courthouse by the following:

       Persons who have been in any of the following countries or locations within the last
       14 days: CHINA, SOUTH KOREA, JAPAN, ITALY, IRAN, EGYPT,
       WASHINGTON STATE, NEW ROCHELLE, NEW YORK . . .; Persons who
       reside or have had close contact with someone who has been in one of the countries
       or locations listed above within the last 14 days; Persons who have been asked to
       self-quarantine by any doctor, hospital, or health agency; Persons who have been
       diagnosed with, or have had contact with, anyone who has been diagnosed with
       COVID-19; [or] Persons with symptoms of COVID-19, such as fever, cough, or
       shortness of breath.

In re: Restrictions on Visitors to Courthouses due to Coronavirus (COVID-19), 3:20-mc-00101-

RBH, ECF No. 1 at 1–2 (D.S.C. Mar. 13, 2020).

       For those attending the hearing in person, there will be available for use hand sanitizer,

disinfectant spray, and a limited number of masks. The court will have individual spots in the
                                                  3
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courtroom marked off to ensure that all attending persons are at least six (6) feet apart.3 By this

action, we believe Courtroom No. 1 can hold eighteen (18) attorneys and/or non-court personnel.

If we need more than the eighteen (18) spots allocated in Courtroom No. 1, there is availability to

utilize Courtroom No. 5 for additional persons.4

       Due to these space limitations, and because it does not have a clear assessment of the

number of participants between counsel and the parties that will attend in person, the court informs

court security officials that the hearing will not be open to the general public. The court will

consider requests by media to attend in person, but these requests must be received by Karen

Boston by telephone (803-253-3477) or by e-mail (Karen_Boston@scd.uscourts.gov) on or before

Thursday, May 14, 2020, at 12:00 p.m.

       For those participating in the hearing remotely, the Clerk’s Office has been testing both

our teleconferencing and videoconferencing capabilities.       To ensure that these systems run

smoothly on May 15th, we will require your participation in pre-hearing testing.

                                     II.     CONCLUSION

       In light of the foregoing observations, the court GRANTS IN PART AND DENIES IN

PART Plaintiffs’ Motion for an Order Requiring All Appearances at the May 15, 2020 Hearing

be made by Telephone or by Videoconference. (ECF No. 40.) The court in its discretion will

allow the participants to choose whether to participate in the May 15, 2020 hearing in person or

remotely. The court INSTRUCTS each attorney to advise the court of their choice by contacting




3
  In its suggestions for slowing the spread of COVID-19, the Centers for Disease Control and
Prevention (“CDC”) advocates for “limiting face-to-face contact with others” by “[s]tay[ing] at
least 6 feet (about 2 arms’ length) from other people.” Coronavirus Disease 2019 (COVID-19),
https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/social-distancing.html         (last
visited May 11, 2020).
4
  There will be a video monitor in Courtroom No. 5 to allow individuals to follow the proceedings.
                                                   4
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Karen Boston by telephone (803-253-3477) or by e-mail (Karen_Boston@scd.uscourts.gov) on or

before Wednesday, May 13, 2020, at 12:00 p.m. Furthermore, as we approach the hearing date,

the court anticipates entering an additional order providing the structure for the oral arguments.

       IT IS SO ORDERED.




                                                     United States District Judge
May 11, 2020
Columbia, South Carolina




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